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UNITED STATES BANKRUPTCY COURT
SOUTHERN DISTRICT OF TEXAS
VlCTORIA DIVISlON

IN RE:
CASE NO. l6-60()40 (DRJ)
LINN ENERGY, LLC, el al
CHAPTER l l

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DEBTORS

 

JASON R. SEARCY, CHAPTER 7
TRUSTEE F()R THE BANKRUPTCY
ESTATE OF RINCON ISLAND LIl\/IITED
LIl\/IITED PARTNERSHIP

V. ADV. NO. 18-06009
BERRY PETROLEUl\/I COl\/lPANY, LLC,
CALIFORNIA STATE LANDS
COl\/ll\/IISSION, SOCORRO CAPITAL, LLC,
TORCH OPERATING COl\/IPANY, AND
TORCH ENERGY FINANCE FUND
Lll\/IITED PARTNERSHIP-l, AND TORCH
ENERGY FINANCE COl\/IPANY

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WAIVER OF SERVICE OF SUMMONS

To: Torch Operating Company, c/o Roland E. Sledge, l300 l\/Iain, Ste. 1520, Houston,
Texas 77002.

l acknowledge receipt of your request that l waive service ofa summons in the action
stated above, which was filed in the United States Banl<ruptcy Court for the Southern District of
Texas. l have also received a copy of the complaint in the above action, two copies ofthis
Instrument, and a means by which l can return the signed waiver to you without cost to me.

I agree to save the cost of service ofa summons and an additional copy of the complaint
in this lawsuit by not requiring that l (or the entity on whose behalfl am acting) be served with
judicial process in the manner provided by Federal Rule of Bankruptcy Procedure 70()4 and/or
Federal Rule ofCivil Procedure 4.

 

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l-8-18\Adversaries\.lRS, Trustee v. Socorro Capital et al #l 8-06009\Pleadings\Service Waivers\Service Waiver -
Torch Operating.wpd

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l (or the entity on whose behalfl am acting) will retain all defenses or objections to the
lawsuit or to thejurisdiction or venue of the Court except for objections based on the defect in
the summons or in the service of summons.

l understand that I, or the entity I represent, must file and serve an answer or a motion
under rule l2 within 60 days from August l, 2018, the date this request was sent (or 90 days if it
was sent outside the United States). Ifl fail to do So, a defaultjudgment will be entered against
me or the entity I represent.

%/’l lift

Date … DSW

- J
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Printed/Ty ed Name.
Torz<H'°@;>,;A/w,u¢, comr/vw

For Defendant

 

 

 

Duty to Avoid Unnecessary Expenses of Serving a Summons

Rule 4 of the Federal Rules ofCivil Procedure requires certain defendants to cooperate in
saving unnecessary expenses of serving a summons and complaint. A defendant who is located
in the United States and who fails to return a signed waiver of service requested by a plaintiff
located in the United States will be required to pay the expenses of service, unless the defendant
shows good cause for the failure.

“Good cause" does not include a belief that the lawsuit is groundless, or that it has been
brought in an improper venue, or that the court has no jurisdiction over this matter or over the
defendant or the defendant’s property. Ifthe waiver is signed and returned, you can still make
these and all other defenses and objections, but you cannot object to the absence ofa summons
or of service.

If you waive service, then you must, within the time specified on the waiver form, serve
an answer or a motion under Rule l2 on the plaintiff and file a copy with the court. By signing
and returning the waiver form, you are allowed more time to respond than ifa summons had
been served.

 

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l-8-18\Adversaries\JRS, Trustee v. Socorro Capital et al #l 8-06009\Pleadings\Service Waivers\Service Waiver -
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